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                   EXHIBIT C
               ENGAGEMENT LETTER
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                                                                                    July 24, 2018

 Ritchie Risk-Linked Strategies, L.L.C.
 200 Continental Drive
 Newark, DE 19713

 PRIVILEGED AND CONFIDENTIAL



Re: Agreement for the Provision of Chief Restructuring Officer and related services to
    Ritchie Risk-Linked Strategies, L.L.C. (the "Company")

Dear Sirs:

This letter confirms the understanding and agreement (the "Agreement") with the Company,
concerning the engagement of Duff & Phelps, LLC ("Duff & Phelps") for the provision of Chief
Restructuring Officer (“CRO”) and related services to the Company. This Agreement reflects the
terms and conditions of Duff & Phelps' engagement generally by the Company to provide CRO and
related services to the Company.

The Company, by executing this letter, acknowledges and agrees to be responsible for the payment
and other obligations to Duff & Phelps, and agrees to be bound by the acknowledgements made
by it in this Agreement, subject to approval of the United States Bankruptcy Court for the District of
Delaware (the “Bankruptcy Court”).

1. Engagement

Subject to (i) approval of the Bankruptcy Court, (ii) confirmation of resolution of approval from the
Company’s Managing Member, and (iii) confirmation of valid Directors and Officers Liability
insurance policy covering the CRO, Duff and Phelps will provide Geoffrey Varga to serve as the
Company’s CRO, working with the Company and its other legal and financial advisors (as
applicable).

Specifically, Mr. Varga and Duff & Phelps will assist the Company (as required) with the following:

(a)        Conduct/oversee bankruptcy preparation and filing activities, including: execution of
           relevant documents; retaining of all necessary financial/legal advisors, attending and
           appearing on behalf of the Debtors at bankruptcy hearings and 341 meetings of Creditors
           and related ancillary bankruptcy matters;




 Duff & Phelps, LLC          T   +1 212 871 2000   www.duffandphelps.com
 55 East 52nd St. Floor 31
 New York, NY 10055
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(b)     Preparation and reconciliation of budgets and 13-week cash flows;

(c)     Assisting with financial reporting to lenders and the Bankruptcy Court;

(d)     Develop, along with any/all legal and restructuring professionals, a Plan of Reorganization
        and drive the process of exiting the company from bankruptcy;

(e)     Manage (with the assistance of counsel) litigation impacting the Company;

(f)     Coordinate activities and assist in communication with outside constituents; and

(g)     Assist with such other matters as may be requested that fall within Duff & Phelps’ expertise
        and that are mutually agreeable.

In undertaking the above services, the Company acknowledges and agrees that Mr. Varga,
in his capacity as CRO (and not in his personal capacity), shall, in his sole discretion, have
full decision-making authority for and on behalf of the Company with respect to all matters
in the Company’s bankruptcy case, including without limitation, decisions regarding
litigation strategy (including with respect to the assertion, settlement or prosecution of
claims and causes of action that are property of the Company’s estate), and the
development, terms and pursuit of confirmation of a Plan of Reorganization.

The Company acknowledges and agrees that Mr. Varga and Duff & Phelps shall not have any
obligation or responsibility to provide accounting, audit, or to provide any valuation opinions,
fairness opinions, or any advice or opinions with respect to solvency in connection with any
restructuring transaction, but may provide advice with respect to the foregoing to the Company in
connection with the performance of the financial advisory duties described above. The Company
confirms that it will rely on its own counsel, accountants, and similar expert advisors for legal,
accounting, tax and other similar advice.

2. Staffing

Geoffrey Varga will be the Managing Director responsible for the overall engagement. He will also
assume the role as CRO to the Company. In undertaking this role, he will be assisted by a staff of
consultants at various levels, who have a wide range of skills and abilities related to this type of
assignment. We will periodically review the staffing levels to determine the proper mix for this
assignment. We will only use the necessary staff required to complete the requested planned
tasks.

3. Term

This Agreement shall commence (i) after the receipt of a copy of the Agreement executed by the
Company accompanied by the retainer, (ii) confirmation of the Company’s compliance with the
requirements set forth in the first paragraph of the Engagement section above, and (iii) Bankruptcy
Court approval of the retention of Geoffrey Varga as CRO and the terms of this Agreement.
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It is acknowledged and agreed that either party may, in their sole discretion, terminate this
agreement on fourteen (14) days’ notice. Notwithstanding, termination of this agreement as
described above, the Company shall be deemed to have determined that all services rendered
under this Agreement to have been satisfactorily performed unless written, good faith notice of the
contrary is delivered by the Company to Duff & Phelps by no later than fourteen (14) days after the
effective date of termination.

4. Professional fees and expenses

Notwithstanding Mr. Varga’s control/authority described in paragraph 1 above, it is acknowledged
that the Company (through its board or managing member as the case may be) will retain authority
to review and approve the fees and expenses of Mr. Varga and Duff & Phelps (with ultimate
authority residing with the Bankruptcy Court).

The Company agrees that it shall be solely responsible for, and shall pay, the compensation and
other amounts that are payable to Duff & Phelps hereunder and for certain other obligations
specified herein (including without limitation the indemnification).

Mr. Varga’s and Duff & Phelps’ fees generally will be based on a time and expense basis, with our
fees determined by the hours actually expended by each assigned professional. We recognize the
need to maximize cost efficiency, and therefore, we endeavor to utilize staff at the level
commensurate to the particular task while maintaining our standard of high quality work product.
Our current hourly billing rates for this engagement are as follows:

                Grade of Staff                           Hourly Rate

                Geoffrey Varga (CRO)                     US$895
                Managing Director                        US$695 – US$895
                Director or Vice President               US$495 – US$695
                Associate to Senior Associate            US$225 – US$450
                Analyst/Administrator                    US$125 – US$225

                (the above rates would be subject to annual review)

With respect to this engagement, and unless otherwise ordered by the Bankruptcy Court, Duff &
Phelps has agreed that a cap of $35,000 will apply to time billed in any calendar month.

The Company shall also reimburse Mr. Varga and Duff & Phelps for its reasonable and documented
out-of-pocket expenses incurred in connection with the services to be provided under this
Agreement. Out-of-pocket expenses shall include, but not be limited to, all reasonable travel
expenses, lodging and meals, pre-approved computer and research charges, and any reasonable
attorney fees. There will also be a general charge to cover general expenses for example postage,
stationery, photocopying charges, telephone and fax costs, which cannot economically be recorded
in respect of each specific case. These will be charged at the rate of US$5 per chargeable hour
incurred.

Upon Bankruptcy Court approval of this agreement, the Company shall pay Duff & Phelps an initial
cash retainer of $50,000.00 ("Initial Retainer"), due and payable upon execution of the Agreement
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and which shall be held until the termination of this agreement to satisfy the full payment of any
and all outstanding fees and expenses of Duff & Phelps under this Agreement.

5. Terms of Business

The attached Terms of Business set out the duties of all parties to this engagement letter in respect
of the Services. The Terms of Business provide that, amongst other things, the Company will
indemnify us against claims brought by any third party and that our aggregate liability to the
Company, whether in contract, tort or otherwise will be limited; provided, however, that there will
be no limit to our liability in respect of any claim that is directly or indirectly based on or arising from
any conduct involving fraud, gross negligence, or willful misconduct of Mr. Varga or Duff & Phelps
or any of its representatives.

This letter and the Terms of Business attached comprise the entire contract (the “Agreement”) for
the provision of the services to the exclusion of any other express or implied term, whether
expressed orally or in writing, including any conditions, warranties and representations and shall
supersede all previous letters of engagement, undertakings, agreements and correspondence
regarding the services.

6. Governing Law and Jurisdiction

This Agreement shall be governed by and interpreted in accordance with the laws of the New York.
The Bankruptcy Court shall have exclusive jurisdiction in relation to any claim, dispute or difference
concerning the Agreement Contract and any matter arising from it.




[Remainder of page intentionally left blank. Signature page follows.]
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By: Ritchie Capital Management, L.L.C.
    on behalf of Ritchie Partners




        Mark Azzopardi


      Director
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